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                UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                                  )
AMERICAN FUEL & PETROCHEMICAL                     )
MANUFACTURERS,                                    )
                                                  )
                   Petitioner,                    )
                                                  )
                       v.                         )            No. 24-1163
                                                  )
U.S. ENVIRONMENTAL PROTECTION                     )
AGENCY,                                           )
                                                  )
                  Respondent.                     )
                                                  )

                 MOTION TO HOLD CASE IN ABEYANCE

      Pursuant to Fed. R. App. P. 27, Petitioner American Fuel & Petrochemical

Manufacturers (“AFPM”) hereby requests that this Court hold the above-captioned

proceeding in abeyance pending resolution of AFPM’s soon-to-be-filed complaint

in the United States District Court for the District of Columbia against Respondent

U.S. Environmental Protection Agency (“EPA”) and the Honorable Michael

Regan, in his official capacity as EPA Administrator, alleging a nondiscretionary

duty to waive cellulosic biofuel volumes for 2023 that are part of the Renewable

Fuel Standard (“RFS”) program established by Clean Air Act section 211(o), 42

U.S.C. § 7545(o). Respondent EPA does not oppose the motion, Respondent-

Intervenor Growth Energy does not oppose the motion, and Respondent-Intervenor
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Coalition for Renewable Natural Gas takes no position on the motion and does not

plan on filing a response.

      In further support of this motion, AFPM states as follows:

      1.     The above-captioned proceeding, filed May 28, 2024, seeks this

Court’s review of EPA’s final action published in the Federal Register on March

26, 2024 titled “Notice of Denial of Petition for Partial Waiver of 2023 Cellulosic

Biofuel Standard Under the Renewable Fuel Standard Program.” 89 Fed. Reg.

20,961. Doc. 2056550.

      2.     In that final action, EPA denied an administrative petition AFPM

submitted to EPA requesting “a partial waiver of the 2023 cellulosic biofuel

standard under CAA section 211(o)(7)(D) and CAA section 211(o)(7)(A)(i).” 89

Fed. Reg. at 20,962. EPA “evaluat[ed] the AFPM Petition as having been

submitted under CAA section 211(o)(7)(A)[.]”1

      3.     On July 29, 2024, this Court granted Respondent-Intervenors’ motions

to intervene in support of EPA in the above-captioned proceeding. Doc. 2067091.

      4.     On July 31, 2024, this Court issued an order setting a briefing

schedule for the above-captioned proceeding, with a deadline for AFPM’s opening

brief of September 9, 2024. Doc. 2067609.

      1
       Denial of AFPM Petition for Partial Waiver of the Cellulosic Biofuel
Standard (March 2024), https://www.epa.gov/system/files/documents/2024-
03/afpm-part-waiver-denial-cellulosic-biofuel-stndrd-2024-03.pdf.


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      5.     Also on May 28, 2024, AFPM submitted a notice of intent to sue EPA

and the Honorable Michael Regan, in his official capacity as EPA Administrator,

for failure to perform a nondiscretionary duty to partially waive cellulosic biofuel

volumes for 2023 under CAA section 211(o)(7)(D).2 42 U.S.C. §§ 7604(a)(2),

7545(o)(7)(D). The citizen-suit provision requiring such notice also requires that

notice to be submitted at least 60 days before filing suit. Id. § 7604(b)(2).

      6.     Now that more than 60 days have passed since submitting notice to

EPA, AFPM intends soon to file a complaint in the United States District Court for

the District of Columbia regarding failure to discharge the nondiscretionary duty.

      7.     Because both proceedings concern EPA’s decision not to partially

waive cellulosic biofuel volumes for 2023, AFPM anticipates that it will be more

efficient to put the above-captioned proceeding into abeyance pending the outcome

of the district court litigation, and will conserve party and judicial resources.

      8.     Depending upon the outcome of the district court litigation, further

proceedings in this Court may not be necessary. Should further proceedings remain

necessary, the issues before this Court may be clarified or streamlined, allowing

closely-linked subject matter to be briefed only once.




      2
        Available at https://www.epa.gov/ogc/notices-intent-sue-us-environmental-
protection-agency-epa.

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      For the foregoing reasons, AFPM respectfully requests that this Court grant

AFPM’s motion and hold the above-captioned proceeding in abeyance pending the

district court’s resolution of AFPM’s soon-to-be-filed complaint.

                                             Respectfully submitted,

                                             /s/ Robert J. Meyers
                                             Robert J. Meyers
                                             Elizabeth B. Dawson
                                             CROWELL & MORING LLP
                                             1001 Pennsylvania Ave., N.W.
                                             Washington, DC 20004
                                             Telephone: (202) 624-2500
                                             Facsimile: (202) 628-5116
                                             rmeyers@crowell.com

                                             Counsel for Petitioner American Fuel &
                                             Petrochemical Manufacturers



DATED: August 9, 2024




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                      CERTIFICATE OF COMPLIANCE

      The foregoing motion complies with the type-volume limitation of Fed. R.

App. P. 27(d)(2)(A) because it contains 550 words, excluding those parts exempted

by Fed. R. App. P. 32(f).

      This motion also complies with the typeface requirements of Fed. R. App. P.

32(a)(5)(A) and the type-style requirements of Fed. R. App. P. 32(a)(6) because it

has been prepared in a proportionally spaced typeface using Microsoft Word 2010

in 14-point, Times New Roman font.

                                       /s/ Robert J. Meyers
                                       Robert J. Meyers

DATED: August 9, 2024




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                         CERTIFICATE OF SERVICE

      I hereby certify that I filed the foregoing motion through the CM/ECF

system, which will send a notice of filing to all registered CM/ECF users.



                                             /s/ Robert J. Meyers
                                             Robert J. Meyers

DATED: August 9, 2024
